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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF NEW YORK


In re Namenda Direct Purchaser Antitrust
Litigation                                  Case No. 1:15-cv-07488-CM (RWL)



               MEMORANDUM OF LAW IN SUPPORT OF
  FOREST’S MOTION FOR LEAVE TO SUPPLEMENT THE EXPERT REPORTS
   OF THE HONORABLE RODERICK MCKELVIE AND DR. LONA FOWDUR
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         I.      INTRODUCTION

              A central issue in this antitrust case is whether Forest’s ’703 patent case was strong,

particularly in light of the Markman decision. Long after the close of discovery in this case, one

of the parties to the patent litigation—Dr. Reddy’s Laboratories—produced in the parallel Indirect

Purchaser antitrust case a highly relevant document describing its contemporaneous view about

the strength of Forest’s ’703 patent in view of the Markman decision. The newly-produced

document supports the existing opinions of Forest’s experts—namely, Judge McKelvie’s opinion

that Mylan’s patent challenge was likely to fail and Dr. Fowdur’s opinion that the Lexapro

Amendment with Mylan did not delay generic entry. But the document is also unique because,

unlike any discovery in the DPP case, it provides direct evidence of the generic challengers’ views

of the patent case. Accordingly, Forest respectfully moves the Court for leave to serve brief

supplemental expert reports of Judge McKelvie and Dr. Fowdur (together totaling 9 pages), limited

in scope to analysis of the Dr. Reddy’s document. (The proposed supplemental reports are attached

as Exhibit E and G.)

              With about six months remaining to trial, DPPs will suffer no prejudice. While the

supplemental opinions fall squarely within the scope of each expert’s existing reports, if necessary,

Forest is willing to make both Judge McKelvie and Dr. Fowdur available for additional deposition

time on the supplements, and would not object to DPPs filing rebuttal expert reports on the same

topic.

     II.         FACTUAL BACKGROUND

                         A. Neither the DRL Document—Nor Anything Like It—Was Produced
                            During Discovery

              In early 2008, Forest filed a patent infringement litigation against fifteen generic companies

that filed Paragraph IV certifications against the ’703 patent. Ultimately, each generic defendant
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either withdrew its ANDA, was dismissed before filing an answer, or entered into a settlement

agreement with Forest to resolve the case.

       Both DPPs and Forest sought discovery in this case from generics that had challenged

Forest’s patent, concerning the merits and settlement of the patent case. Specifically, on January

5, 2017 DPPs issued a subpoena to Dr. Reddy’s Laboratories, Ltd. and/or Dr. Reddy’s

Laboratories, Inc. (collectively, “DRL”) seeking the production of “[a]ll documents and

communications, regardless of date, concerning the patent litigation arising from Your ANDA for

Generic Namenda, including, but not limited to: (a) the bases, merits, or likelihood of success of

the litigation; (b) analyzing the scope or effect of any anticipated, proposed or actual outcome of

the litigation, including any legal business or economic effects; (c) the decisions by You to defend,

maintain, and/or settle the litigation, including any communications or any communications with

agents. . . .” See Toto Decl., Ex. A at Exhibit B, Schedule A, § III, ¶ 6. Forest also served a

subpoena on DRL on February 3, 2017, which encompassed the DPPs’ request for this

information. Id. at Exhibit A, ¶ 1.

       Fact discovery closed on September 15, 2017. ECF No. 397. Neither DRL nor the other

generic manufacturers who received similar subpoenas produced documents or testified regarding

the strength of the ’703 patent or their likelihood of success in the ’703 patent litigation. Expert

discovery took place from September 15, 2017 to November 10, 2017. ECF No. 397.

       After the stay of the Indirect Purchaser Plaintiff (“IPP”) case was lifted in September 2018,

IPP served DRL (a defendant in the IPP case, but not the DPP case) with a document request. IPP

requested all documents “concerning any potential or actual resolution, dismissal, and/or

settlement of the patent infringement action, including analyses of the goals, costs, or benefits of

any potential settlement and the costs and benefits of not settling any of the patent infringement



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actions.” Toto Decl., Ex. B at § III.A, ¶ 9. In response, in November 2018 (a year after expert

discovery had closed in the DPP case), DRL produced a document entitled “Dr. Reddy’s

Laboratories Deal Approval Form,” which outlines DRL’s assessment of the Markman decision,

its likelihood of success in the ’703 patent litigation, its anticipated litigation costs, and the

rationale behind DRL’s decision to settle (the “DRL Document”). See Toto Decl., Ex. C, DRL

(Namenda AT Litig)0012499. The DRL Document is unquestionably relevant and responsive to

both DPPs’ and Forest’s prior document requests, pursuant to which there is a continuing

production obligation.

                     B. The DRL Document Supports the McKelvie Report With New and
                        Important Evidence

       The expert report served by Judge Roderick McKelvie on October 9, 2017 (the “McKelvie

Report”) assesses how a reasonable patent litigator would have viewed the merits of the claims

and defenses to be presented in the ’703 patent litigation and responds to DPPs’ expert George

Johnston. See Toto Decl., Ex. D, McKelvie Rep. ¶¶ 13, 14. Judge McKelvie opines that the

Markman decision was very favorable to Forest and in light of the decision, that the generic

defendants would have had a low likelihood of prevailing in the ’703 patent litigation. Id. at ¶ 58-

60, 86-87. Further, Judge McKelvie concludes that because the Markman decision supported

Forest’s position, each of the generic defendants that remained in the litigation settled. Id.

       The DRL Document is highly relevant to these opinions, as it provides a contemporaneous

assessment of the merits of the ’703 patent litigation by one of the generic defendants, and reaches

the same conclusions as the McKelvie Report. Moreover, while Judge McKelvie considered the

evidence available to him when drafting the McKelvie Report, documents or testimony regarding

the generic manufacturers’ assessments of the impact of the Markman decision were not available.

See supra, § II.A.


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        The proffered Supplemental Expert Report of Roderick McKelvie (the “McKelvie

Supplement”) is a three-page report which analyzes the DRL Document and explains how the DRL

Document further supports Judge McKelvie’s existing opinions. As set forth in the McKelvie

Supplement, DRL’s contemporaneous assessment of the Markman decision supports the

McKelvie Report’s conclusion that the generics “recognized the difficulty they would have faced

in prevailing at trial.” Toto Decl., Ex. E, McKelvie Supp. at ¶ 5. Moreover, Judge McKelvie

opines that the statements in the DRL Document are “consistent with the perspective of a

reasonable patent litigator” and that “Mylan’s defenses were likely to fail, and the settlements that

Forest reached with Mylan and the other generic defendants [were] borne out in the strength of

Forest’s case on the merits of the patent litigation.” Id. at ¶ 9.

                    C. The DRL Document Confirms Dr. Fowdur’s Analysis of the Economic
                       Motives Behind Settling the Patent Litigation

        The expert report served by Dr. Fowdur on October 9, 2017 (the “Fowdur Report”)

addresses, among other things, DPPs’ claim that Forest entered into anticompetitive patent

settlement agreements with generic manufacturers to delay the entry of generic versions of

Namenda IR. Toto Decl., Ex. F, Fowdur Rep. at ¶ 3. The Fowdur Report concludes that Forest

made no payment to a generic manufacturer that caused delay in the entry of generic versions of

Namenda IR, and criticizes the model that DPPs’ expert Einer Elhauge uses to calculate a but-for

entry date. Professor Elhauge’s model relies, in part, on Forest’s perception of the strength of its

patent case. Id. at ¶¶ 9, 24, 70-75. Dr. Fowdur opines that DPPs’ experts underestimate Forest’s

perceived likelihood of success in the litigation because they do not consider that the Markman

decision was “highly favorable” to Forest or that, because Mylan’s payoff for continuing to litigate

was negative, it was plausible that Mylan would have dropped its Paragraph IV challenge if Forest

refused to settle. Id. at ¶¶ 24, 70-75.


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           The six-page Supplemental Expert Report of Lona Fowdur Ph.D. (the “Fowdur

Supplement”) evaluates the DRL Document from an economic perspective. Dr. Fowdur observes

that, consistent with the position of Forest executives, DRL viewed the Markman decision to be a

win for Forest, noting that the decision made the “non-infringement argument difficult to litigate”

and that DRL was “unlikely” to win. Toto Decl., Ex. G, Fowdur Supp. ¶¶ 4, 5. This assessment

supports Dr. Fowdur’s view that Forest perceived it had a strong patent, and directly contradicts

DPPs’ estimate that Forest had perceived only a 40% chance of success. Id. at ¶ 9.

           Additionally, similar to Mylan, DRL assessed that “continuing to litigate offer[ed] no

upsides” because of the continued litigation costs and the number of generics that would enter in

the “unlikely” event that DRL won the ’703 patent litigation. Id. at ¶¶ 6-8. These assessments

similarly apply to other first filers, like Mylan, and provide strong support for Dr. Fowdur’s

opinion that Dr. Elhauge was wrong not to account for the possibility that Mylan would have

dropped its Paragraph IV challenge. Id. at ¶ 9-10.

    III.      ARGUMENT

           Even when a party discloses expert opinions after the Court-ordered deadlines for the

exchange of expert reports, that party is nonetheless permitted to rely on those opinions if the delay

“was substantially justified or is harmless.” Fed. R. Civ. P. 37(c)(1); see also Outley v. New York,

837 F.2d 587, 591 (2d Cir. 1988) (“Before the extreme sanction of preclusion may be used by the

district court, the court should inquire more fully into the actual difficulties which the violation

causes, and must consider less drastic responses.”); In re Term Commodities Cotton Futures Litig.,

No. 12 CV 5126 (ALC) (KNF), 2018 U.S. Dist. LEXIS 66120, at *12-13 (S.D.N.Y. Mar. 23, 2018)

(stating that “as a general rule, absent prejudice and bad faith, courts will not resort to exclusion”);

Rmed Int'l v. Sloan's Supermarkets, No. 94 CV 5587 (PKL) (RLE), 2002 U.S. Dist. LEXIS 23829,



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at *11-12 (S.D.N.Y. Dec. 11, 2002) (refusing to grant motion in limine seeking to prevent expert

from testifying about post-discovery supplemental expert report and holding that exclusion of

testimony would be a “drastic remedy”). Under Rule 37, the following factors determine whether

supplemental expert opinion may be offered at trial: (1) the importance of the evidence sought to

be submitted; (2) the reasons for the delay in providing the evidence; (3) the prejudice to the

opposing party from having to address the new evidence; and (4) the possibility of a continuance.

Outley, 837 F.2d at 590; Cotton Futures Litig., 2018 U.S. Dist. LEXIS 66120, at *13.

       Here, each of the Outley factors demonstrates that allowing Forest to supplement the

McKelvie and Fowdur Reports is substantially justified and harmless: (1) the assessment of the

DRL Document is highly important to the case, (2) the delay is justified because the document

was unavailable during discovery in the DPP case, (3) the Fowdur and McKelvie Supplements are

brief and limited in scope, and (4) the October 21, 2019 trial date will be unaffected because DPPs

have nearly six months to take depositions and submit their own expert analysis in advance of trial.

                   A. The Fowdur and McKelvie Supplemental Opinions Are Highly
                      Probative to Critical Issues in the Case

       The opinions set forth in the McKelvie and Fowdur Supplements are central to Forest’s

liability and causation defenses and should be considered by the jury. See Cotton Futures Litig.,

2018 U.S. Dist. LEXIS 66120, at *16-17 (denying motion to strike supplemental expert report

served after deadline for rebuttal expert reports in part because expert testimony was “vital to the

plaintiff’s case”); Powerweb Energy, Inc. v. Hubbell Lighting, Inc., No. 3:12CV220 (WWE), 2014

U.S. Dist. LEXIS 52957, at *14-15 (D. Conn. Apr. 16, 2014) (denying motion to strike

supplemental expert report in part because the information party sought to strike was “central” to

a “hotly contested and significant issue.”). DPPs have alleged that the settlement between Forest

and Mylan, resolving the ’703 patent litigation, contained an anticompetitive reverse payment to


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delay the entry of generic versions of Namenda IR. The strength of the ’703 patent and likely

outcome of the patent case are central to DPPs’ theory that the alleged payment caused delay of

generic entry. The DRL Document provides a unique perspective on these issues from the patent

challengers’ side of the ’703 patent litigation, and no similar document has been produced in this

case.     Indeed, DPPs themselves sought this information from DRL during discovery. See supra,

§ II.A.

          Moreover, DPPs’ own experts have opined not only on the strength of the ’703 patent and

Forest’s likelihood of success in the ’703 patent litigation, but have also offered opinions regarding

the likelihood of success that the parties to the patent litigation “perceived.” See Toto Decl., Ex.

H, Elhauge Rep. ¶¶ 59, 61; Toto Decl., Ex. I, Johnston Rep. ¶¶ 393-401. The DRL Document

provides actual and direct evidence of such perceptions at the time. Because the DRL Document

was not available to Forest’s experts at the time they prepared their reports, Judge McKelvie and

Dr. Fowdur responded to DPPs’ experts without the benefit of contemporaneous evidence of the

generic defendants’ perceptions of the merits of the patent case. Now, for the first time, direct

evidence is available showing that the generics (like Forest) believed that the Markman doomed

the patent challenge.

                    B. The DRL Document Was Unavailable to Forest During Discovery

          Courts have routinely recognized that supplemental expert reports are appropriate when

they rely on newly discovered evidence. See Capitol Records, LLC v. Escape Media Grp., Inc.,

No. 12-CV-06646 (AJN)(SN), 2014 U.S. Dist. LEXIS 183098, at *25 (S.D.N.Y. May 28, 2014)

(finding supplemental expert submission was substantially justified where documents analyzed in

supplement were produced “after [expert] could have possibly included them in his expert

report.”); see also Cotton Futures, 2018 U.S. Dist. LEXIS 66120, at *13 (noting that supplemental



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expert reports are sometimes inappropriate under Rule 26(e) when they do not rely on “previously

unknown or unavailable” information); Cedar Petrochemicals, Inc. v. Dongbu Hannong Chem.

Co., 769 F. Supp. 2d 269, 278 (S.D.N.Y. 2011) (recognizing that supplemental expert reports are

appropriate when they “rely on any information that was previously unknown or unavailable”);

Queen v. Int'l Paper Co., No. 04-CV-342 (FJS/DRH), 2006 U.S. Dist. LEXIS 26725, at *16-17

(N.D.N.Y. May 5, 2006) (granting motion for leave to supplement expert report relying on newly

discovered information). Both Judge McKelvie and Dr. Fowdur offered opinions in their initial

reports that are directly supported by DRL’s assessment of the ’703 patent litigation and

settlement, and both experts would have assessed the DRL Document in their original reports had

it been available to them at that time. The supplements are thus “substantially justified” by the

recent availability of the DRL Document.

                   C. DPPs Will Not Be Prejudiced Because There is Ample Time Before
                      Trial and Trial Will Not be Delayed

       DPPs will not be prejudiced by Forest’s supplements to the McKelvie and Fowdur Reports,

which together represent only nine pages of analysis (as contrasted with the nearly 1,000 pages of

expert analysis already exchanged in this case). See Capitol Records, 2014 U.S. Dist. LEXIS

183098, at *25 (finding that any prejudice would be minimal where there was no risk of “surprise

or trial by ambush”). The supplemental reports are limited in scope and explain how the DRL

Document further supports the opinions set forth in the original reports. See supra, §§ II.B-C.

Neither expert “expounds a wholly new and complex approach designed to fill a significant and

logical gap in the first report” but rather “provides evidentiary details for [] opinion[s] expressed

in [their] expert report[s].” See Cedar Petrochemicals, 769 F. Supp. 2d at 279-80 (denying motion

to strike supplemental expert report that “support[ed] an initial position” and was “within the

bounds” of original expert report); Emig v. Electrolux Home Prods., No. 06-CV-4791 (KMK),


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2008 U.S. Dist. LEXIS 68811, at *10 (S.D.N.Y. Sep. 10, 2008) (considering supplemental expert

affidavit to the extent opinions in the affidavit were consistent with or contained in original expert

report); Commercial Data Servers, Inc. v. IBM, 262 F. Supp. 2d 50, 61 (S.D.N.Y. 2003)

(McMahon, J.) (finding that supplemental expert opinion would be admissible at trial where it was

“substantially similar” to Rule 26 report).

          Moreover, Forest will not object to DPPs’ experts submitting rebuttal reports limited to the

same topic, or additional deposition time with Judge McKelvie and Dr. Fowdur regarding the

supplements. Rmed, 2002 U.S. Dist. LEXIS 23829, at *13 (“any prejudice is easily cured by

allowing plaintiff to depose [expert] if they so desire”).

          Trial in this case is set to begin on October 21, 2019. ECF No. 688. If DPPs wish to depose

these experts on the supplemental reports or submit rebuttal reports, they will have approximately

six months to do so before trial commences. By comparison, the parties conducted all of expert

discovery, consisting of twenty-seven expert reports and nineteen depositions, in about two

months. Simply put, there is no reason that trial would be delayed or otherwise disrupted if the

Court grants Forest leave to supplement the McKelvie and Fowdur Reports. See Rmed, 2002 U.S.

Dist. LEXIS 23829, at *12 (“Allowing service of a new report authored by [previously disclosed

expert] will not disrupt the trial, which is set to begin almost a month from now”); see also

Northrup v. Werner Enter., No: 8:14-cv-1627-T-27JSS, 2015 U.S. Dist. LEXIS 105281, at *4-5

(M.D. Fla. Aug. 11, 2015) (finding untimely disclosure harmless when provided six months before

trial).

     IV.     CONCLUSION

          For the foregoing reasons, Forest respectfully requests that the Court grant Forest leave to

supplement the expert reports of the Honorable Roderick McKelvie and Lona Fowdur, Ph.D.



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Dated: April 29, 2019                         Respectfully submitted,
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